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Shawn J. Bird, M.D.

 

C2 HEALTH SYSTEM Associate Professor
Department of Neurology Director, Neurodiagnostic Laboratories
December 12, 2008

Expert Report of Shawn J, Bird, M.D.
RE; Gabapentin (Neurontin®) use in neuropathic pain and related forms of chronic pain

I have been asked to review the literature and summarize my clinical experience as an
expert regarding the appropriateness of the use of gabapentin (Neurotin®) for
neuropathic pain and related forms of chronic pain. In order to prepare this report, I
reviewed an extensive literature. This included literature provided to me, as well as
literature I had on-hand and that I obtained by my independent search of PubMed and
Medline through our biomedical library at the University of Pennsylvania, In addition, I
reviewed recent review articles (in press and on-line) and recent book chapters related to
this topic. I was also asked to review expert reports by Dr. Thomas Perry and Dr. Nicolas
Jewell. ] was provided copies of numerous research reports produced by Parke-Davis
Pharmaceutical Research and Pfizer.

Background

1 am a neurologist at the University of Pennsylvania. My educational background includes
iwo undergraduate degrees from Cornell University, a B.A. in Biology and a B.S, in
electrical engineering. I subsequently received my M.D. in 1983 from the Johns Hopkins
University School of Medicine. 1 completed my training in 1989 following a neurology
residency and a fellowship in nerve and muscle diseases, a total of five years, at the
University of Pennsylvania.

{ have been on the full-time faculty at Penn since 1989 and hold the rank of Associate
Professor of Neurology in the School of Medicine. I am director of the Neurodiagnostic
Laboratories, as well as director of the Electromyography (EMG) Lab at Penn. I also am the
program director for the clinical neurophysiology residency program. I hold board
certification in Neurology with added qualifications in Clinical Neurophysiology. I have
additional board certification in EMG by the American Board of Electrodiagnostic
Medicine. My primary responsibilities at Penn include the practice of EMG studies and the
evaluation of patients with nerve disorders, including those with neuropathic pain. As part of
those clinical activities, I teach neurology residents and fellows. I have published over 50
articles and 20 chapters on neuromuscular diseases and clinical electromyography. I have

 

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been recent president of the Philadelphia Neurological Society and have received numerous
awards. The details of my publications and awards are listed in my curriculum vitae
(attached).

‘Treatment of Neuropathic Pain before Gabapentin

Neuropathic pain is defined as “pain initiated or caused by a primary lesion or
dysfunction in the nervous system.” It may be due to disease- or injury-induced damage
to any nerve, particularly in the peripheral nervous system. Examples include painful
neuropathies due to diabetes or other illness, trauma to nerves, causalgia, complex
regional pain syndrome, poststroke pain, phantom limb pain or pain after spinal cord
trauma, Characteristic clinical symptoms include the feeling of bothersome pins and
needles, and burning, lancinating (shooting or electric shock-like), stabbing or throbbing
pain. The goal of therapy is to reduce the unpleasant manifestations of the neuropathic
pain,

Prior to the mid-1990’s, the first-line treatment of neuropathic, and related pain consisted
of the tricyclic antidepressants (TCAs), which did not have an FDA-approved indication
for.this use. The mechanism of action of the TCAs that produces pain relief in
neuropathic or other related pain syndromes is not known, but had been noted clinically
for decades, The tricyclic antidepressants were prescribed for the treatment of chronic
pain in clinical practice for many years because they were effective in most physicians’
experience and in the published literature. Physicians appropriately made every attempt
to relieve neuropathic pain in these patients, despite the lack of any drug with FDA-
approval for these forms of pain. Prior to the recent approval of Lyrica® and Cymbalta®,
there were no FDA-approved medications with specific indications for diabetic
neuropathic pain, Even these newer drugs have FDA-approval for use only in painful
diabetic neuropathy and post-herpetic neuropathy (Lyrica only). There are no drugs that
have specific FDA approval for the treatment of neuropathic pain in patients with the
many other forms of peripheral neuropathy.

Although clinically effective, TCA agents are poorly tolerated by many individuals due
to the high incidence of sedation, very bothersome dry-mouth and other dose-limiting
side-effects. Because of the bothersome side-effects of the TCAs that often preclude their
use, and also due to the need for an alternative for those patients who did not benefit from
the TCAs, physicians have tried other off-label drugs in neuropathic pain. Other agents in
use in the 1990s included the anticonvulsant carbamazepine and the cardiac antiarrthymic
agent mexilitine (Bird, 2002), These drugs were deemed clinically effective in individual
patients with neuropathic pain. These latter drugs were considered second line agents to
the TCAs due to concerns regarding potentially more serious side-effects. Carbemazepine
is sedating and can produce serious drops in the white blood counts, necessitating
frequent blood monitoring. Mexilitine is a cardiac drug that can sometimes cause cardiac
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atrthymias. There was a need prior to mid-1990s for an effective drug with less
bothersome and serious side-effects.

Off-Label Use of Pharmacologic Agents

Physicians have always been free to prescribe an FDA-approved drug for an off-label use
when it was indicated based on their clinical judgment in the context of the prevailing
standards of care. It has been estimated that more than half of all prescriptions are for
uses the FDA has not approved. I know that more than 80% of the prescriptions in my
practice are for off-label use. My practice consists of relatively uncommon
neuromuscular disorders, such as myasthenia gravis and peripheral neuropathies, for
which there are no medications with FDA approval. Despite that, I treat these patients
quite successfully with a variety of medications.

Tt would not be possible to practice medicine without the use of FDA-approved drugs for
off-label use. There are many examples where the standard of care encompasses the use
of drugs for off-label use. Common examples would include the use of aspirin for stroke
prevention or post-myocardial infarction prophylaxis. Corticosteroids, such as
prednisone, are essential in many autoimmune diseases but these are not approved by the
FDA for any of these indications. As noted above, tricyclic antidepressants have been
used off-label for decades for neuropathic pain. There is extensive clinical experience and
medical literature to support the use of numerous off-label drugs in many disorders, In
these instances, use of off-label medications has become the accepted medical standard of
care, This is the case as well with the use of gabapentin in neuropathic pain.

The clinical use of a medication for a particular medical disorder evolves in different
ways depending on the nature of the disease and the availability of safe and effective
drugs. Before using new agents to treat a common disorder for which there are other
proven therapies, I ordinarily would want to see randomized controlled trials and FDA-
approval, However, this scenario, where many proven drugs are available, is not the case
in many disorders. For many disorders there are no effective drugs, or those that are
effective have burdensome side-effects. In those circumstances, patients often benefit
greatly from therapies many years before controlled trials provide any supporting
evidence for their use. This is not an uncommon scenario, whereby the clinical use of a
medication in a disease with limited alternatives is used successfully as the evidence
mounts for its effectiveness.

In many diseases, the evidence for effectiveness of a medication builds over time.
Evidence for effectiveness comes from a variety of types of studies. The body of
evidence develops often first from case series and case reports, Randomized, controlled
trials then often follow, usually years later. This is the case with neuropathic pain, not just
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with gabapentin, but also with drugs that preceded its use. Two randomized, controlled
trials by Mitchell Max and coworkers in 1987 and 1991 demonstrated that tricyclic
antidepressants were better than placebo in diabetic neuropathic pain (Max, 1987; Max,
1991). However, for the decades leading up to these studies these drugs (tricyclic
antidepressants) were the first-line agents for neuropathic pain. This clinical practice was
based on numerous case series that supported their effectiveness.

It is particularly important to have numerous treatment options that can be used to try to
alleviate the suffering that patients endure with unrelenting neuropathic pain. Before
gabapentin, the options were less than optimal because of the side-effects of the tricyclic
antidepressants. The other option, opiates, was a poor alternative due the problems of
addiction, abuse and tolerance (where the dose needs to be constantly increased to
achieve the same degree of pain relief). In addition, not all patients respond to the
tricyclic antidepressants, Because patients did not tolerate or respond to these drugs, there
was a necd for other alternatives, It would be poor medical care to not offer an alternative
treatment where there is some clinical evidence supporting its use in that disorder while
waiting years, or even decades, for more convincing, but rarely certain, evidence of
elficacy from randomized clinical trials. This is the case with gabapentin.

Gabapentin and Neuropathic Pain

Gabapentin (Neurontin®) has been a safe and effective treatment for neuropathic pain,
and related forms of chronic pain, for the past decade, For reasons detailed below, it
quickly became one of the first line treatments for nerve pain due to its effectiveness and
its low side-effect profile.

Gabapentin does not carry a specific FDA indication for use in neuropathic pain,
Gabapentin had FDA-approval for an indication in epilepsy in late 1993, and also post-
herpetic neuralgia in 2002. The process of FDA-approval meant that the drug has been
tested in large numbers of patients at varying doses and has been determined to be safe
for usc in patients, The safety and the excellent tolerability of gabapentin were known
after the FDA-approval process,

In the mid-1990s, early reports in the academic peripheral nerve community indicated
that gabapentin, a newly-released anticonvulsant, was effective in the treatment of
neuropathic pain and that it had very few limiting side-effects. The clinical experience
was generally favorable. Preliminary positive results with gabapentin were reported
initially by preliminary presentations and colleague-to-colleague discussion at scientific
Ineetings, not at pharma-sponsored events or by pharmaceutical drug representatives. For
example, at just one organization’s meetings, the American Academy of Neurology, in
1998 and 1999 there were several reports of gabapentin’s benefit in neuropathic pain and
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related chronic pain. Such titles included, “Gabapentin versus amitriptyline in painful
diabetic neuropathy of the elderly” (Dalloccchio, 1998), “Gabapentin in the treatment of
distal symmetric axonopathy in HIV infected patients” (Gatti, 1998), “Gabapentin in
painful AIDS-related neuropathy” (La Spina, 1999), “Painful diabetic neuropathy treated
with gabapentin” (Chiaramonti, 1999). These are examples from just two meetings, of
dozens, that reflected the ballooning positive reports of gabapentin use. Even prior to
these particular meetings in 1998 and 1999, we had been using gabapentin for several
years based on our positive experience with the drug in patients with neuropathic pain.
As outlined below, the published literature grew rapidly supporting the use of gabapentin
in neuropathic pain and other related forms of chronic pain. As early as 1998, review
articles on the treatment of neuropathic pain featured gabapentin prominently. For
example, in the November 1998 Neurologic Clinics a review article on painful
neuropathy summed up the medical opinion well in stating, “Recently, a multicenter,
placebo-controlled study demonstrated significant pain reduction with gabapentin for the
treatment of painful diabetic polyneuropathy. Even before this report was presented,
gabapentin had been extensively prescribed for the treatment of many neuropathic pains
based on the drug’s excellent efficacy, side effects ratio, remarkably low incidence of
intolerable side effects, and the ease to which it may be prescribed, with no need to
monitor any bloodwork. Another added benefit of gabapentin is the drug is not
metabolized and thus there are no drug-drug interactions (Galer, 1998).” I could not have
summarized the consensus of opinion on the use of gabapentin for neuropathic pain in the
neurologic community any better than that statement from 1998,

In addition to the clinical experience with gabapentin, there has been a substantial body
of literature supporting its use in neuropathic pain. The specific studies that confirm the
clinical effectiveness of gabapentin in neuropathic pain are numerous, However, some
are particularly worthy of mention. Six randomized clinical trials (RCT) compared
gabapentin with placebo and 2 RCTs compared gabapentin with amitriptyline, an
antidepressant shown in previous RCTs to be effective in neuropathic pain. These eight
studies considered together provide more than sufficient evidence for a physician to
conclude that gabapentin is effective for the treatment of neuropathic pain. The placebo-
controlled trials showed that gabapentin was statistically better than placebo for pain
relief. The trials that compared gabapentin with amitriptyline showed no difference (i.e.,
gabapentin is as effective as amitriptyline). The placebo-controlled trials consisted of 165
patients with diabetic neuropathy (Backonja, 1998), 40 patients with diabetic neuropathy
(Gorson, 1998; Gorson, 1999), 30 patients with diabetic neuropathy (Tamez-Perez,
1998), 229 patients with post-herpetic neuralgia (Rowbotham, 1998), 334 patients with
post-herpetic neuralgia (Rice, 2001), and 305 patients with various forms of neuropathic
pain (Serpell, 2002), including complex regional pain syndrome, radiculopathy, other less
common forms of neuropathic pain. The RCTs that compared gabapentin to amitriptyline
included 25 patients with diabetic neuropathy (Dollocchio, 2000) and 25 veterans with
diabetic neuropathy (Morello, 1999).
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There is extensive literature, too large to comprehensively review, that supports the use
of gabapentin in other related pain states, including spinal cord injury (Tai, 2002; To,
2002; Putzke, 2002; Ahn, 2003; Levendoglu, 2004), post-operative pain (Turan, 2003;
Turan, 2004; Pandey, 2004; Rorarius, 2004; Tuncer, 2005; Gilran, 2005; Menigaux,
2005), complex regional pain syndrome (reflex sympathetic dystrophy) (Mellick, 1997;
van de Vusse, 2004; Teasdall, 2004), phantom limb pain (Nikolajsen, 2001; Bone, 2002:
Mera, 2004; Manchikanti, 2004; Hanley, 2006), neuropathic cancer pain (Caraceni, 1999;
Chandler, 2000; Foley, 2000; Devulder, 2001; Bosnjak, 2002; Caraceni, 2005) and in
chronic non-cancer pain in general (Anesthesia Task Force on Chronic Pain, 1997;
Epstein, 1998; Attal, 1998; Sater-Katzenschlager, 2003; Hainline, 2005; Toderov, 2005;
Baker, 2005), This literature includes a number of placebo-controlled randomized clinical
trials that demonstrate the effectiveness of gabapentin in these disorders. For example,
Levendoglu and colleagues (2004) concluded that gabapentin is “a first line drug for the
treatment of neuropathic pain in spinal cord injury”. Their prospective, randomized
double-blind, placebo-control clinical trial demonstrated that gabapentin significantly
reduced all types of pain in the study patients with spinal cord injury, but also improved
their quality of life. Several randomized clinical trials have demonstrated the benefit in
post-operative pain. A RCT of 75 patients undergoing vaginal hysterectomy showed that
gabapentin reduced the need for post-op pain treatment by 40% compared to placebo
(Rorarius, 2004). Another placebo-controlled RCT demonstrated a similar beneficial
effect of gabapentin in 45 patients undergoing major orthopedic surgery (Tuncer, 2005),
In another study, fifty-six patients undergoing lumbar discectomy were randomized to
pre-operative treatment with gabapentin or placebo. The gabapentin treated group had
significantly lower post-operative pain (Pandey, 2004). Van de Vusse and co-workers
(2004) reported on a placebo-controlled RCT of gabapentin in 58 patients with complex
regional pain syndrome I, also called reflex sympathetic dystrophy, and found a
Significant benefit in the initial three week study period. Nineteen patients with post-
amputation phantom limb pain were study studied in another placebo-controlled RCT,
The gabapentin-treated patients had significantly lower pain scores after the 6 week study
period, where the mean pain score was halved compared to placebo-treated patients
(Bone, 2002),

Two thorough systematic reviews have recently critically examined all of the data on the
use of gabapentin for neuropathic pain. The first, the Cochrane Database of Systematic
Reviews considered the efficacy of gabapentin for neuropathic pain (Wiffen, 2005), The
Cochrane database contains high-quality, independent evidence to inform healthcare
decision-making. Cochrane reviews represent the highest level of evidence on which to
base clinical treatment decisions, In this review of gabapentin for acute and chronic pain,
fourteen randomized trails in chronic pain (1468 patients) were deemed high quality and
were evaluated. The studies treated: post-herpetic neuralgia (two studies), diabetic
neuropathy (seven studies), cancer-related neuropathic pain (one study), phantom limb
pain (one study), Guillain-Barre syndrome (one study), spinal cord injury pain (one
study) and various neuropathic pains (one study). The conclusion of this review was that
gabapentin is effective in neuropathic pain.
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The second systematic review, detailed in two 100-plus page reports, were produced by
the Oregon Evidence-based Practice Center funded by the Center of Evidence-based
Policy, supported by 17 non-commercial organizations including 15 state Medicaid
programs. The one report, entitled “Drug Class Review on Drugs for Neuropathic Pain,”
states in the summary of findings (pg 23) that “gabapentin was consistently more
effective than placebo for pain relief or improvement of function in 12 placebo-controlled
trials” (Chou, 2007). None of these trials used doses less than 2400 mg/day, The related
report, entitled “Drug Class Review on Antiepileptic Drugs in Bipolar Mood Disorder,
Neuropathic Pain, and Fibromyalgia,” reviewed “1 good-quality systematic review and
27 placebo-controlled trials of fair quality, most involving gabapentin” (Goodman, 2006).
The authors state that “most of the fair-quality evidence documents the efficacy of
gabapentin in neuropathic pain” and that “when titrated to response, doses up to 3600 mg
of gabapentin were reported to be necessary for adequate pain relief.”

Many other reviews support the experience that gabapentin is effective for various forms
of neuropathic pain. One review examined 35 papers involving 727 patients with multiple
neuropathic pain conditions treated with gabapentin (Mellegers, 2004). The meta-analysis
of 4 placebo-controlled, randomized clinical trials showed a beneficial effect of
gabapentin in diabetic neuropathy and post-herpetic neuralgia. The remainder of the
studies evaluated by these authors were uncontrolled, but the conclusion of the paper was
that these published reports did demonstrate a beneficial effect in multiple painful
neuropathic conditions. Another review, based on the available data, suggested that
gabapentin is the medication to use if an antidepressant was ineffective or not tolerated
(Namaka, 2004). Another review states that a substantial percentage of patients treated
with gabapentin for neuropathic pain “can expect to achieve more than 50% pain relief”
(Bennett, 2004),

Several recent evidence-based reviews have also concluded that gabapentin is an
effective, first-line therapy for neuropathic pain. An article authored by 16 pain experts
entitled “Pharmacologic management of neuropathic pain: evidence-based
recommendations” evaluated the current clinical trial data on drugs for neuropathic pain
(Dworkin 2007). They concluded that appropriate first line agents for neuropathic pain
include gabapentin and pregabalin, tricyclic antidepressants and topical lidocaine (the
latter for postherpectic neuralgis only),They stated that their conclusions were based on
the amount and consistency of evidence, degree of efficacy, safety and clinical
experience of the authors.

The Canadian Pain Society has stated in a recent consensus statement that gabapentin is a
first-line agent for the treatment of neuropathic pain based on their review of the
published literature at a consensus meeting addressing this subject (Moulin DE, 2007).
They state, “Randomized controlled trials, systematic reviews and existing guidelines
focusing on the pharmacologic management of neuropathic pain were evaluated at a
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consensus meeting. Medications are recommended in the guidelines if their analgesic
effect was supported by at least one methodologically sound, randomized controlled trial
showing significant benefit relative to placebo or another relevant control group.
Recommendations for treatment are based on degree of evidence of analgesic efficacy,
safely, ease of use and cost-effectiveness, Analgesic agents recommended for first-line
treatments are certain antidepressants (tricyclics) and anticonvulsants (gabapentin and
pregabalin)....opioid analgesics are recommended as third-line treatments for moderate to
severe pain.”

In the context of this extensive literature and clinical experience, gabapentin is now one
of, if not the, first line treatments of all forms of neuropathic pain. This is reflected in all
of the recent reviews that I am aware of regarding the treatment of neuropathic pain, For
example, a commonly used Web resource for physicians, UpToDate, discusses this topic
in its section on “Antiepileptic Drugs in the Treatment of Neuropathic Pain.” The authors
( Bajwa, 2008) state that “in a meta-analysis published in 2006 (Wiffen, 2005) that
identified 14 trials involving 1398 patients with chronic pain, gabapentin was effective
for the treatment of various types of neuropathic pain.” In the recommendation summary,
they state “Among the newer antiepileptic drugs, we suggest the use of gabapentin, as it
appears to be one of the most effective and best tolerated antiepileptic drugs for
neuropathic pain conditions other than trigeminal neuralgia.” [UpToDate is an evidence-
based, peer-reviewed information resource for physicians available via the Web or

_ desktop. More than 300,000 clinicians and the majority of academic medical centers in
the U.S. use UpToDate as a reference. It is the on-line resource available through our
biomedical library on every computer in our health system at Penn. |

‘The effectiveness of gabapentin in neuropathic pain is reflected in recent book chapters
dealing with this subject. In the Handbook of Peripheral Neuropathy, the varied and
many causes of painful neuropathy are detailed (Nodera, 2005), With regard to the
treatment of neuropathic pain, these authors state that “gabapentin is a first-line agent in
the treatment of neuropathic pain.” In their algorithm for management of neuropathic
pain, they list first line therapies (in order) as gabapentin, amitriptyline, and nortrptyline.

In the most recent edition of “Current Therapy in Neurologic Disease,” the management
of painful small-fiber neuropathy of various causes is discussed (Polydefkis, 2002), The
author states that “The first-line medication of the neuropathic pain associated with small
fiber neuropathy is gabapentin. This medication is exceptionally well tolerated, even in
older patient populations...”

Neuropathic pain disorders are also discussed (Moulin, 2003) in the most recent edition
of “Neurologic Therapeutics: Principles and Practice.” This details all of the causes of
neuropathic pain and suggests an overall pharmacologic approach to its management.
They state that the proposed sequence of medications is “based on apparent degree of
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efficacy, side-effect profile, and cost.” Their algorithm for the pharmacologic
management of neuropathic pain (in a diagram) has gabapentin or a tricyclic
antidepressant as the first-line agents.

“Current Medical Diagnosis and Treatment” (McPhee, 2007) states that “opiates are
effective for neuropathic pain as are tricyclic antidepressants, gabapentin, tramadol, and
the lidocaine patch. These five medications .,.are considered first-line agents in the
pharmacologic management of neuropathic pain.”

In the large 2 volume textbook “Peripheral Neuropathy, 4" Edition”, the chapter related
to this issue, “Mechanisms and pharmacologic management of neuropathic pain”
(Rowbotham, 2005) states that “The publication of two randomized placebo-controlled
trials of gabapentin for postherpetic neuralgia and diabetic peripheral neuropathy in 1998
represent the beginning of a marked shift in the evidence base for neuropathic pain
treatment. Together, these two trials enrolled nearly 400 subjects, and the data analysis
followed a conservative, modified intent-to-treat approach.” The author goes on to state
that “opioids, tricyclic antidepressants, and the anticonvulsant gabapentin have been the
subject of controlled trials in multiple types of neuropathic pain with generally similar
results.”

With regard to the practical use of gabapentin, I have found it that is well tolerated by
most patients, I typically start with a dose of 300 mg daily and slowly increase the dose
until an acceptable level of pain relief occurs, up to a maximum of 3600 mg daily.
Although the side-effects are typically mild, they are usually avoided by a slow increase
in dose, This clinical experience with dosing is reflected in the advice from other experts
in the treatment of neuropathic pain. I agree with the statement in “UpToDate” (Bajwa
2008) that, “It is usually well tolerated at doses as high as 3600 mg daily,” In the
“Handbook of Peripheral Neuropathy” (Nodera 2005), the daily dose of gabapentin for
neuropathic pain is noted to be 200 to 3600 mg daily. It also notes that it is generally well
tolerated. In “Neurologic Therapeutics: Principles and Practice” (Moulin 2003), the usual
maintenance dose of gabapentin for neuropathic pain is 900 to 4800 mg daily, In
“Current Therapy in Neurologic Disease” (Polydefkis, 2002), it lists the typical dose of
gabapentin for neuropathic pain as 900 to 3600 mg daily. Dworkin and colleagues
(2007) advise dose titration of gabapentin for neuropathic pain up to a maximum dose of
3600 mg daily. This advice from other experts corresponds precisely to my experience
and practice with regard to the use of gabapentin for neuropathic pain.

{ have not had any problems arise whereby insurance coverage, or a drug prescription
benefit, was not provided for the use of gabapentin for one of my patients with
neuropathic pain, out of concerns about its off-label use or its effectiveness. In fact,
gabapentin is considered so effective that some insurance carriers require its use first
before they will pay for Lyrica or Cymbalta, two drugs with specific FDA indications for
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painful diabetic neuropathy. For example, here in Philadelphia, Independence Blue Cross
requires that for non-diabetic neuropathic pain the patient must have documentation of “a
trial and failure or intolerance/allergy to gabapentin” as a precondition to get
authorization for payment for Lyrica
(www.ibx.com/providers/drug_formulary/prior_authorization.html ; select “prior
authorization criteria”), In addition, gabapentin is on our hospital formulary for in-
patients, and is one of the most commonly recommended drugs by our Pain Service.

Reports of Dr. Thomas Perry and Dr. Nicholas Jewell

Based on the above analysis, I disagree with Dr. Thomas Perry’s conclusions with regard
to the use of gabapentin in neuropathic pain as stated in his report dated August 10, 2008.
‘The information detailed above constitutes strong evidence that gabapentin is effective
for the treatment of neuropathic pain. As I reviewed in this report, there are a variety of
levels of evidence, not limited to RCTs, that gabapentin is effective for the treatment of
neuropathic pain. This includes case reports, case series and expert opinion based on
extensive real-life experience with the treatment of patients with neuropathic pain. In
addition, there are RCTs and systematic reviews (meta-analyses), that support
gabapentin’s off-label use for neuropathic pain. There are no systematic reviews in the
literature that conclude otherwise.

Dr, Perry appears to stand alone in his stated conclusion that gabapentin is ineffective in
neuropathic pain, This is the opposite conclusion of the numerous reviews and book
chapters I detailed above. The Canadian Pain Society has stated in a recent consensus
statement that gabapentin is a first-line agent for the treatment of neuropathic pain based
on their review of the published literature at a consensus meeting addressing this subject
(Moulin DE, 2007). They state,
“Randomized controlled trials, systematic reviews and existing guidelines
focusing on the pharmacologic management of neuropathic pain were evaluated at
a consensus meeting. Medications are recommended in the guidelines if their
analgesic effect was supported by at least one methodologically sound,
randomized controlled trial showing significant benefit relative to placebo or
another relevant control group. Recommendations for treatment are based on
degree of evidence of analgesic efficacy, safety, ease of use and cost-
effectiveness. Analgesic agents recommended for first-line treatments are certain
antidepressants (tricyclics) and anticonvulsants (gabapentin and
pregabalin),...opioid analgesics are recommended as third-line treatments for
moderate to severe pain.”
With regard to this recent consensus statement (Moulin, 2007), I am in complete
agreement,

1 disagree with Dr. Perry when he states that “in the real world” gabapentin has not been
demonstrated to be an effective treatment for pain, in that patients taking gabapentin
should be expected to accrue less benefit and more harm. Gabapentin is effective in
exactly for the opposite reason; patients taking it should be expected to accrue more
benefit and less harm. As I detail above, both clinical experience by physicians who treat
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these patients as well as the published literature demonstrates that gabapentin does
provide pain relief for various forms of chronic pain, most notably chronic neuropathic
pain. In fact, gabapentin’s relatively low side-effect profile compared to tricyclic
antidepressants is what drove its initial use in this area.

The statement that there are as many patients who experience adverse events as those
who note improvement in pain is not substantiated by the data, but even if it were it does
not mean that this shows that gabapentin is not effective for neuropathic pain. By that
standard all drugs, especially tricyclic antidepressants and opioids, would be deemed
“ineffective” by Dr. Perry’s logic. He documents the list of adverse events on gabapentin
on page 33 as compared to placebo. It is misleading to do this without showing the equal
incidence of adverse events in other drugs used for neuropathic pain, such as tricyclic
antidepressants and opioids (see Gilron, 2005 below). However, he does state briefly on
page 32 that there is no difference in adverse events when comparing gabapentin to other
active comparators. In addition on page 35 Dr. Perry states that, based on his analysis of
the data, one in 35 patients would stop using gabapentin due to adverse effects. This is a
strikingly low number (only 3%). The drop-out rate due to adverse effects is much higher
in studies of chronic pain using most other agents, especially tricyclic antidepressants.

In my extensive experience with gabapentin, the vast majority of patients tolerate the
drug superbly well, In those who have a side-effect, it is usually mild and short-lived. For
example, a typical adverse event would be transient dizziness or sleepiness when
initiating the drug. This sleepiness (somnolence) or dizziness wears off after a few days
or so, Certainly my patients find such a minor, transient “adverse event” a small price to
pay for years of significant pain relief.

In his report, Dr. Perry offers that opioids are better for neuropathic pain than gabapentin,
Only one of the reviews or guidelines | have listed above list opioids as a first line-agent,
or even equivalent to gabapentin. Most authors, including myself, do not favor the use of
opioids as a first-line agent. Most, as described in the many algorithms detailed in this
letter, use opioids as third-line agents. Morphine and opiates are not considered desirable
therapy for these patients with chronic neuropathic pain because of the significant
problems of addiction and tolerance, in addition to their other extensive side-effects. In
addition, the data does not support the superiority of opioids for chronic neuropathic pain.
The one study that Dr. Perry cites (Gilron, 2005) that deals with a direct comparison of
gabapentin and morphine shows that the “frequency of adverse events was similar among
all treatments.” In addition, the improvement in pain was similar in the morphine and
gabapentin groups. The total pain score on the McGill Pain Questionnaire was 14.4 with
placebo, 10.7 with morphine and 10.7 with gabapentin. If morphine is “the most
efficacious known analgesic” as stated by Dr. Perry on page 19 of his report, then
gabapentin is just as efficacious.

Shortly after this New England Journal of Medicine study (Gilron, 2005) the same
authors, in a practical guide for the clinician in the Canadian Medical Association
Journal, give an algorithm for the treatment of neuropathic pain in primary care (Gilron,
2006). They state that either gabapentin or antidepressants (tricyclic or serotonin-
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norepinepherine reuptake inhibitors) are first-line drugs. If one of those fails or is not
tolerated, the other type should be tried as a second-line drug. Their algorithm lists
tramadol or opioids as third-line agents.

Even Dr. Perry in his report makes note of the effectiveness of gabapentin based on his
own systematic review (on pages 33-35). He states that “there is a statistically significant
difference between gabapentin and placebo favouring gabapentin over placebo” in those
patients who report a >50% reduction in pain score. He states that the data he reviewed
showed that “significantly more patients treated with gabapentin than with placebo rated
their pain as reduced by >50%.” He then states that with this same outcome measure “no
difference is observed between gabapentin vs. amitriptyline.” Since amitriptyline has
been shown to be efficacious in several RCTs versus placebo in neuropathic pain, such
data supports an equivalent efficacy of gabapentin compared to amitriptyline. He also
mentions other outcome measures that essentially show the same positive results in favor
of gabapentin. With regard to the mean change from baseline in pain scales (NRS/VAS),
he states that “there was a statistically significant difference between gabapentin and
placebo favouring gabapentin over placebo.” Looking at studies that use PGIC
“moderately or much improved” as % of patients as outcome, Dr. Perry states
“significantly more patients treated with gabapentin than placebo rated themselves
“moderately or much improved.”

I also disagree with Dr. Perry’s assertion that the widespread “expert” recommendation
of gabapentin as a first-line treatment was based on commercial, rather than scientific or
medical considerations. That statement is based on his presumption rather than actual
fact. | was a first-hand observer of the process at scientific meetings dedicated to
peripheral neuropathy throughout this period and I saw no evidence of anything other
than the exchange of un-biased medical data and opinion.

Dr. Perry states that | may be unaware of unpublished studies of gabapentin vs. placebo
for chronic “neuropathic” pain completed by Parke Davis/Pfizer. He also offers his belief
that if | were aware of that data my opinion would be obligatorily tempered, if not
different. On the contrary, I have reviewed all of that data and it reinforces my opinion
that gabapentin is effective and safe for neuropathic pain, With regard to the three studies
of chronic neuropathic pain that he states are “unpublished” (945-224, 945-271, and 945-
1008), two in fact have been detailed in the literature (945-224 in Backonja 2003; 945-
271 in Gordh 2008). In addition, the data from the third unpublished protocol (945-1008)
provides strong support for the efficacy of gabapentin in chronic neuropathic pain.

Of the seven research reports of studies (945-430-295; 945-211; 945-1008; 945-224; 945-
271; 945-430-306 and 945-210) of gabapentin for chronic neuropathic pain from Parke-
Davis/Pfizer, six have been published (Backonja 1998; Rowbotham 1998; Rice 2001;
Serpell 2002; Backonja 2003; Gordh 2008). The data from the sole unpublished study
(945-1008) also supports the effectiveness of gabapentin for neuropathic pain.

For example, the data in the research report for the single unpublished protocol, 945-1008
(Parsons 2005), details the results of a large double-blind, placebo-controlled trial of
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gabapentin vs. placebo in patients with painful diabetic peripheral neuropathy. This
included 200 patients treated with gabapentin and 189 patients treated with placebo over
a 15 week period. The gabapentin dose was titrated up to 3600 mg per day. Gabapentin
showed statistically significant improvement in mean pain scores, responder rates and
pain-related sleep interference compared to placebo.

The data from protocol 945-224 (Reckless 2000) was detailed in the literature (Backonja
2003). This was a multicenter trial of 328 patients with painful diabetic neuropathy
treated with 600, 1200, and 2400 mg per day of gabapentin vs. placebo. As with other
reports, gabapentin was well tolerated — 9% of patient treated with gabapentin and 10%
of patients treated with placebo withdrew due to adverse events. Mean pain scores
decreased from baseline in all groups, but there were no significant differences between
the treatment groups and placebo, The authors speculate that the unusually high response
rate (27%) in the placebo group in this particular study obscured the clinical benefits of
gabapentin.

On page 45 of his report, Dr. Perry refers to the unpublished data from protocol 945-430-
295 (Rice 2001), but this was published in the journal Pain (Rice 2001). I disagree with
his criticisms of this study, I feel, as did the reviewers of Pain, that it was a properly
performed study that supported its conclusions — that gabapentin is an efficacious and
well-tolerated treatment for postherpectic neuralgia.

On page 38 of his report, Dr. Perry refers to the results of a study presented in abstract
form (Rowbotham MC, Diamond C et al., 10" World Pain Conference). Dr. Perry
speculates that this study was not published because it would have provided evidence that
the overall effects of larger doses of gabapentin were undesirable. I disagree with that
conclusion of Dr. Perry. This same unpublished data shows that gabapentin was better in
pain reduction in this population of patients with painful HIV neuropathy.

Dr, Perry also mentions (on page 55 in his report) that I was unaware of unpublished
reports of acute pain studies completed by Parke-Davis in 1999-2000. The knowledge of
such data would not alter my opinions in any way. Those studies have nothing to do with
neuropathic pain, or other forms of chronic pain.

Dr, Nicholas Jewell, in his report dated July 29, 2008, states that, based on his evaluation
of the data in Backonja et al. (1998), he concludes that the trial provides no basis of any
clinical efficacy for gabapentin over placebo in this population. From my perspective, I
have reviewed the published data in the report (Backonja et al., 1998) and I agree with
the conclusions of the authors — that gabapentin is efficacious for the treatment of
neuropathic pain. I would point out that the accompanying editorial in that issue of
JAMA (Journal of the American Medical Association) by well-know authorities on
neuropathic pain (Low PA, Dotson RM, JAMA 1998;280:1863-1864) state “these 2
gabapentin trials confirm the clinical impression that this drug is efficacious in the
treatment of chronic painful neuropathies, and provide data that suggest that this agent
may prove to be the drug of first choice in most cases of post-herpetic neuralgia and some
cases of painful diabetic neuropathy.” I would also note that JAMA is one of the most
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prestigious journals in clinical medicine, and has a thorough review process. As part of
that review process, the article would have been reviewed critically by several experts in
this field before the articles were accepted for publication. It passed through a review
process that would assure, in the opinion of the reviewers and the editor, that the data in
the article supports its conclusion,

Response to proposed lists of alternative drugs to gabapentin

1 was provided two lists of drugs that are proposed as cheaper and more optimal
alternatives to gabapentin for the treatment of neuropathic pain. The first list was detailed
in the declaration of Mirta Millares, For neuropathic pain the agents listed include
tricyclic antidepressants (amitriptyline, desipramine, and nortriptyline), topical capsaicin,
and carbamazepine. Also mentioned are non-prescription medications such as naproxen
and aspirin for neuropathic pain. Of note, no opoids are listed as alternatives to
gabapentin for neuropathic pain, The second list is included as Appendix A in plaintiff
ASEA’s second supplemental responses to defendants’ second set of interrogatories. The
list of alternatives medications for neuropathic pain include tricyclic antidepressants
(amitriptyline, desipramine, and nortriptyline), topical capsaicin, carbamazepine, non-
steroidal anti-inflammatory agents (aspirin, celecoxib, diclofenac, naproxen), duloxetine,
and lidocaine patch, The remaining 26 drugs listed are all opioid preparations.

1 disagree with the statement that these agents are more optimal than gabapentin. There
are no studies that support the superiority of any of these drugs to gabapentin. Every book
chapter and review of neuropathic pain that I detailed above lists gabapentin as a first line
agent for neuropathic pain. The individual agents identified in the 2 lists prepared by the
plaintiffs are discussed below.

Aspirin and naproxen (or other non-steroidal anti-inflammatory agents (NSAIDs)) are not
effective for the treatment of neuropathic pain. As Dr, Perry states in his report on page
20, “NSAIDs and acetaminophen typically have very limited utility for “neuropathic
pain”, especially for PDPN and PHN, and the NSAID class risks impairment of renal
function, cardiovascular function and/or gastrointestinal bleeding.....and all NSAID
toxicities are especially dangerous in old people.” I agree with this statement.

Carbamazepine, an anticonvulsant drug, has been shown to be effective only in
trigeminal neuralgia. It has not been shown to be effective in neuropathic pain and is of
limited use as a third-line agent (see recent reviews - Dworkin 2007; Nodera 2005;
Moulin 2007). It has the potential for serious hematologic toxicity, including life-
threatening aplastic anemia. In addition, its use requires frequent blood work to monitor
for bone marrow suppression.

Lidocaine patch has been shown to be effective in post-herpetic neuralgia (PHN), but not
in neuropathic pain in other forms of neuropathy. It is an alternative, although not
superior, to gabapentin for PHN but not other forms of neuropathic pain. Other topical
agents, like capsaicin, have not been shown to be effective in neuropathic pain and in
general are poorly tolerated by patients, due to the irritant skin effects.
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Duloxetine is an antidepressant of the selective serontin and norepinephrine reuptake
inhibitor class. It has been shown to be effective in 3 RCTs in painful diabetic
neuropathy, but it has not been studied in other types of neuropathic pain. It is a new
medication so there is limited long-term safety information and efficacy data are limited
to studies of painful diabetic neuropathy, as such it is often considered a second line
agent (Dworkin 2007). In my experience with patients it is less effective than gabapentin.

Opioids are not reasonable alternatives to gabapentin. Due to there significant side-effects
and abuse potential, they are generally limited to second (Dworkin 2007) or third line
(Moulin 2007) agents. I use them in patients with chronic neuropathic pain only if all
other therapies fail. A recent review (Dworkin 2007) in the journal Pain on the evidence-
based recommendations for the pharmacologic management of neuropathic pain states,
“because of these problematic aspects of opioid treatment, and given the efficacy of the
first-line medications discussed above, treatment of chronic neuropathic pain with opioid
agonists should generally be reserved for patients who have failed to respond to or cannot
tolerate the first-line medications.”

Lastly, tricyclic antidepressants, TCAs, (amitriptyline, desipramine, and nortriptyline) are
equally effective as gabapentin for the treatment of neuropathic pain, but have a much
more limiting side-effect profile, Most reviews list TCAs and gabapentin both as first-
line agents. 1, like many physicians, prefer to use gabapentin over the TCAs because it is
much better tolerated. As Dr. Perry states in his report on page 19 about TCAs,
“Unfortunately they carry virtually inevitable anti-cholinergic and alpha-blocking adverse
effects...” Those side-effects include sedation, severe dry mouth, urinary retention, and
orthostatic hypotension with dizziness and fainting. Some studies also implicate TCAs in
an increased risk of sudden cardiac death and that they should be avoided in those
patients who have ischemic cardiac disease or an increased risk of sudden cardiac death.
These serious side-effects are not an issue with the use of gabapentin.

Conclusion

As a large neuromuscular referral center at the University of Pennsylvania, my colleagues
and I have seen thousands of patients with neuropathic pain. In my experience
gabapentin is an effective drug for pain and is very well tolerated by patients. For ten
years now gabapentin has been the first line agent that I use in patients with chronic
neuropathic pain of many causes. I, and many of my colleagues, use gabapentin as the
first drug in neuropathic pain for two reasons. First, it clearly is as effective in my
experience, if not more so, than any other drug available for this use. Second, it is the
best tolerated drug for this use, with the least bothersome side-effects and no requirement
for blood monitoring. I continue to use it as a first line agent to this date. Gabapentin is
on the hospital formulary at the Hospital of the University of Pennsylvania and is used on
scores of in-patients with various types of pain. In my opinion, since the mid-1990s
gabapentin has been one of the first line agents for neuropathic pain and related pain
syndromes. Its use became standard of care in the medical community for neuropathic
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pain. Gabapentin has been a safe and effective drug for neuropathic and related pain, and
its use in this clinical setting is appropriate. There are no alternative drugs that are more
optimal! than gabapentin for neuropathic pain. Every book chapter and review of
neuropathic pain that I detailed above lists gabapentin as a first line agent for neuropathic
pain. This opinion is based on my clinical experience with this drug in these disorders,
other physicians’ similar experience, and the medical literature that supports its use,
including the various published and unpublished studies identified by the plaintiffs’
experts.

The medical literature I reviewed for this report is attached and my hourly rate for the
lime spent is $400 per hour.

In summary, based on my clinical experience and expert review of the existing data, there
was sufficient evidence for the use of gabapentin for all forms of neuropathic pain. All of
the opinions expressed in this report are rendered to a reasonable degree of medical
certainty.

Sincerely,

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Shawn J. Bird-W.D.
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Pain and Morphine Consumption Following Lumbar Laminectomy and
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Herpetic Neuralgia: a Randomized, Double-Blind, Placebo Controlled Study.
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Postoperative Pain After Vaginal Hysterectomy. Pain. 2004;110:175-181.

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Shawn Bird, M.D. Page 22 12/12/2008

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_ Randomized, Double-Blind, Crossover Trial. The Journal of Spinal Cord

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Sympathetic Dystrophy). Clin. Sports Med. 2004;23:145-155.

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Chronic Non-Cancer Pain. Pain Physician. 2006;9: 1-40.

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After Total Abdominal Hysterectomy. Anesth. Analog. 2004;98:1370-3.

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After Spinal Surgery. Anesthesiology, 2004; 100(4):935-938.

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Chronic Pain (Review). Cochrane Database of Systematic Reviews. 2005, Issue 3,
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Research Reports from Parke-Davis and Pfizer

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UNIVERSITY OF PENNSYLVANIA - SCHOOL OF MEDICINE
Curriculum Vitae

December, 2008

Shawn J. Bird, M.D.

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Hospital of the University of Pennsylvania
3400 Spruce Street

Philadelphia, Pennsylvania 19104

Phone (215) 662-6551
Fax (215) 349-5579
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Education: 1974-79 B.A. Cornell University (Biology)
BS. Cornell University (Electrical
Engineering)

1979-83 M.D. Johns Hopkins University
Postgraduate Training and Fellowship Appointments:

1983-84 Intern in Internal Medicine, New York Hospital-Cornell
University Medical Center, New York

1984-87 Resident in Neurology, Hospital of the University of
Pennsylvania, Philadelphia

1987-89 Fellowship, Clinical Neuromuscular Diseases and
Electromyography, Hospital of the University of
Pennsylvania, Philadelphia

Military Service: None

Faculty Appointments:

1989-98 Assistant Professor of Neurology, Department of Neurology,
University of Pennsylvania School of Medicine

1998- Associate Professor of Neurology, Department of Neurology,
University of Pennsylvania School of Medicine

Hospital and Administrative Appointments:
Case 1:04-cv-10981-PBS Document 1692-12 Filed 03/02/09 Page 26 of 42

Shawn J. Bird, MD Page 2

1989- Director, Evoked Potential Laboratory, Department of
Neurology, Hospital of the University of Pennsylvania

1989-91 Associate Director, Electromyography (EMG) Laboratory,
Department of Neurology, Hospital of the University of
Pennsylvania

1991- _ Director, Electromyography (EMG) Laboratory, Department of
Neurology, Hospital of the University of Pennsylvania

1994- Director, Neurodiagnostic Laboratories, Department of
Neurology, Hospital of the University of Pennsylvania

1996- Co-Director, Neuropathy Association Clinic, Department of
Neurology, Hospital of the University of Pennsylvania

1997- Director, Clinical Neurophysiology Residency Program (ACGME
Program #1874121087), University of Pennsylvania School of
Medicine

2000- Director, Muscular Dystrophy Association (MDA) Clinic, Department
of Neurology, Hospital of the University of Pennsylvania

Health System Committees:
1990-92 Member, Medical-Legal Committee, Hospital of the

University of Pennsylvania
1994-99 Member, Practice Affairs Committee, University of

Pennsylvania Health System

1996- Member, Penn NeuroCare Board of Directors

1996-99 Member, Radnor Practice Advisory Group, University of
Pennsylvania Health System

1997- Member, Professional Billing Subcommittee, Clinical Practices of
the University of Pennsylvania

1999- Member, Clinical Effectiveness and Quality Improvement

Committee, Hospital of the University of Pennsylvania

Specialty Board Certification:

1989 American Board of Electrodiagnostic Medicine (ABEM)

1990 American Board of Psychiatry and Neurology (ABPN); (October
1990, certificate # 33469)

1992 American Board of Neurology and Psychiatry, Added
Qualifications in Clinical Neurophysiology (March 1992,
certificate # 20)

Licensure: Pennsylvania (MD039328E)
Case 1:04-cv-10981-PBS Document 1692-12 Filed 03/02/09 Page 27 of 42

Shawn J. Bird, MD

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Awards, Honors, and Memberships in Honorary Societies:

1979
1983

1992

1996
1996

1999
1999
2001

2005
2007

Phi Beta Kappa, Cornell University

Alpha Omega Alpha, Johns Hopkins University School of
Medicine

Neurology Resident's Award for Faculty Excellence in Teaching,
Department of Neurology, University of Pennsyvania

“Top Docs” (EMG /electrodiagnosis), Philadelphia Magazine

The Best Doctors in America (Northeast region: neuromuscular
disease)

The Best Doctors in America (fourth listing)

“Top Docs” (electrodiagnosis), Philadelphia Magazine

Neurology Resident’s Award for Faculty Excellence in Teaching,
Department of Neurology, University of Pennsylvania

The Best Doctors in America (2005-2006 edition)

The Best Doctors in America (2007-2008 edition)

Memberships in Professional and Scientific Societies:

National Societies:
American Academy of Neurology (AAN)
American Neurological Association (ANA)
American Association of Neuromuscular and Electrodiagnostic

Medicine (AANEM)

(Member: Course Committee, 2007 -; Special Interest Group
Committee, 1999-2006; Journal (Muscle & Nerve) Committee,
1994-9; Historical Committee, 1990-94)

American Academy of Clinical Neurophysiology (AACN)
American Clinical Neurophysiology Society (ACNS)
The Neuropathy Association

Local Societies:
Philadelphia Neurologic Society

Editorial Positions:

President, 2000-2001
Vice-President, 1999-2000

Ad hoc reviewer for:
Case 1:04-cv-10981-PBS Document 1692-12 Filed 03/02/09 Page 28 of 42

Shawn J. Bird, MD Page 4
1990- Muscle & Nerve
1994- Journal of Neurological Sciences
1996- Neurology
1998- Journal of Neurology, Neurosurgery, and Psychiatry
1989-94 Annals of Neurology

Principal Investigator of Grants:

A 24-Month, Double-Blind, Randomized, Placebo-Controlled, Fixed-Dose,
Parallel-Group, Multicenter Study of Zenarestat (CI-1014) in the
Treatment of Diabetic Neuropathy, Protocol 1014-01, Parke-Davis,
1997-2001

Phase II, Multicenter, Double-Blind, Placebo-controlled, Parallel-Group
Study of the Efficacy and Safety of Recombinant Human Nerve
Growth Factor (rhNGF) in Patients with Diabetic Polyneuropathy;
Protocol #K0718g, Genentech, 1997-99.

A Treatment Protocol Using Myotrophin (human mecasermin) Injection in
Patients with Amyotrophic Lateral Sclerosis; Protocol
C0151a/500/AL/US, Cephalon, 1996-99.

Open-Label Trial of Rilutek (rituzole) 50 mg BID in Treatment of
Amyotrophic Lateral Sclerosis (ALS); Protocol RP 54274-420,
Rhone-Poulenc Rorer Pharmaceuticals, 1995-96.

Extension of Treatment Beyond Nine Months and Re-Assignment of Placebo-
treated Patients to Treatment with Active Drug; Protocol A-9202f,
Regeneron Pharmaceuticals, 1994-96.

Autonomic Dysfunction in Patients with Functional Gastrointestinal Disease,
Co-PI, 1994-95 .

Phase II-III Prospective, Randomized, Double-blind, Placebo-controlled,
Dose-ranging and Efficacy Study of Recombinant Human Ciliary
Neurotrophic Factor ((HCNTF) in Patients with Amyotrophic Lateral
Sclerosis (ALS); Protocol A-9202, Regeneron Pharmaceuticals, 1992-
1994.

Measurement of Muscle Strength and Abilities to Perform Activities of Daily
Living in Patients with Amyotrophic Lateral Sclerosis; Protocol A-
9203, Regeneron Pharmaceuticals, 1992-1993.
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Shawn J. Bird, MD Page 5

Major Clinical Responsibilities for the University of Pennsylvania:

1.

2.

3.

4.
5.

Attending physician, HUP inpatients and consultation services: 2 to 3
months per year

Attending physician, Neuromuscular diseases outpatient clinic, with a
resident or fellow: two % days per week

Electrodiagnostic (EMG) consultations, with a resident or fellow: five '
days per week

Evoked potential interpretation, 4 day per week

Direct experimental drug protocols with 10 to 40 patients enrolled

Major Teaching Responsibilities at the University of Pennsylvania:

1.
2.
3.
4.

5.

Clinical neurophysiology conference for residents and fellows (course
director): weekly

Group leader, Integrative Neuroscience (ID110)

Supervise Neurology 200 students two months per year

Supervise EMG training elective for residents and fellows: five 2 days per
week

Supervise fellows in Neuromuscular diseases clinic: two 2 days per week

Lectures by Invitation (past five years):

February 13, 2003 “Diabetic neuropathies” — Department of Medicine,

University of Pennsylvania, Philadelphia, PA

February 27, 2003 “Electrodiagnosis of myopathies” - 30° Annual Course in

Electrodiagnostic Medicine, Jefferson Medical
College, Philadelphia, PA

March 29, 2003 “Physiology and electromyography” — Physical Medicine and
Rehabilitation Grand Rounds, Graduate Hospital,
Philadelphia, PA

November 2, 2003 “Neuropathies associated with paraproteinemia”,

Neuroscience Conference, Medical Society of Delaware,
Christiana Hospital, Wilminton, DE

April 1, 2004 “Electrodiagnosis of myopathies”- 31° Annual Course in

Electrodiagnostic Medicine, Jefferson Medical
College, Philadelphia, PA

May 25, 2004 “Electrodiagnosis of critical illness polyneuropathy and
Case 1:04-cv-10981-PBS Document 1692-12 Filed 03/02/09 Page 30 of 42

Shawn J. Bird, MD

October 1, 2004

October 2, 2004

November 6, 2004

February 18, 2005

March 10, 2005

September 22, 2005

September 30, 2005

October 14, 2005

November 10, 2005

March 16, 2006

Page 6

Myopathy” - Physical Medicine and Rehabilitation
Grand Rounds, University of Pennsylvania, Philadelphia, PA

“Neuromuscular weakness in ICU patients” - Neurology /
Neurosurgery Grand Rounds, Temple University,
Philadelphia, PA

“Neurophysiology” and “Neuromuscular” - Penn
Neurology Board Review Course, Crowne Plaza Hotel,
Philadelphia, PA

“A novel toxic neuropathy producing quadriplegia” -
Amercian Association of Electrodiagnostic Medicine,
Savannah, GA

“Neuromuscular weakness in critical illness” - Neurology
Grand Rounds, Thomas Jefferson University, Philadelphia,
PA

“Approach to patients with myopathies” - 32 Annual
Course in Electrodiagnostic Medicine, Jefferson
Medical College, Philadelphia, PA

“Do recent publications improve our understanding of
weakness in the ICU?” - American Association of
Neuromuscular and Electrodiagnostic Medicine,
Monterey, CA

“Clinical Neurophysiology” and “Neuromuscular” - Penn
Neurology Board Review course, Crowne Plaza Hotel,
Philadelphia, PA

“Neuromuscular weakness in the critical care setting” -
Neurology Grand Rounds, Lehigh Valley Hospital,
Allentown, PA

“Electrodiagnosis of peripheral nerve injuries” -
Neurosurgery Grand Rounds, University of Pennsylvania,
Philadelphia, PA

“Electrodiagnostic approach to patients with myopathies” -
33" Annual Course in Electrodiagnostic Medicine, Jefferson
Medical College, Philadelphia, PA
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Shawn J. Bird, MD

June 22, 2006

July 29, 2006

September 14, 2006

September 29, 2006

October 14, 2006

December 7, 2007

March 9, 2007

October 5, 2007

October 20, 2007

September 11, 2008

September 20, 2008

September 26, 2008

Page 7

“EMG and nerve conduction studies in orthopaedic
disorders” - Orthopaedic Surgery Grand Rounds, University
of Pennsylvania, Philadelphia, PA

“Interesting neuromuscular case presentations” — American
Society of Electrodiagnostic Technologists Annual
Conference, Philadelphia, PA

“Critical illness myopathy” — Clinical symposium, 28°
International Congress of Clinical Neurophysiology,
Edinburgh, Scotland

“Clinical Neurophysiology” and “Neuromuscular” - Penn
Neurology Board Review course, Crowne Plaza Hotel,
Philadelphia, PA

“Update on critical illness myopathy”- American
Association of Neuromuscular and Electrodiagnostic
Medicine, Washington, DC

“Myosin lost: critical illness myopathy” — Wellstone Center
muscle symposium, University of Pennsylvania

“Diagnosis and management of critical illness
polyneuropathy and critical illness myopathy” - Neurology
Grand Rounds, Temple University, Philadelphia

“Clinical Neurophysiology” and “Neuromuscular” - Penn
Neurology Board Review course, Marriott Courtyard Hotel,
Philadelphia, PA

“Myasthenic crisis” - American Association of
Neuromuscular and Electrodiagnostic Medicine, Phoenix,
AZ

“Critical illness myopathy” — Neurology Grand Rounds,
University of Pennylvania, Philadelphia

“Acute neuropathy and respiratory failure with occlusive
angiopathy” - American Association of Neuromuscular and
Electrodiagnostic Medicine, Providence, RI

“Clinical Neurophysiology” and “Neuromuscular” - Penn
Neurology Board Review course, Marriott Courtyard Hotel,
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Shawn J. Bird, MD Page 8

Philadelphia, PA

Organizing Roles in Scientific Meetings:

“Needle EMG basics: workshop” - workshop leader. American Association of
Electrodiagnostic Medicine, Orlando, FL, September, 1998

“Critical care: difficult cases” - organizer, Amercian Association of Electrodiagnostic
Medicine, Orlando, FL, September, 1998

“Needle EMG basics” - workshop leader, American Association of Electrodiagnostic
Medicine, Vancouver, Canada, October, 1999

“Critical care myopathies” - organizer, American Association of Electrodiagnostic
Medicine, Vancouver, Canada, October, 1999

“Critical care: Guillain-Barré syndrome” - organizer, American Association of
Electrodiagnostic Medicine, Philadelphia, PA, September, 2000

“Breakfast with the experts: intensive care unit” - American Association of
Electrodiagnostic Medicine, Philadelphia, PA, September, 2000

“Critical care: pediatric neuromuscular diseases in the ICU” - co-organizer,
American Association of Electrodiagnostic Medicine, Albuqueque, NM,
October, 2001

“Breakfast with the experts: intensive care unit” - American Association of
Electrodiagnostic Medicine, Albuqueque, NM October, 2001

“Critical care symposium: respiratory issues in the ICU” - organizer; American
Association of Electrodiagnostic Medicine, Toronto, Canada, October, 2003

“Critical care: interesting case presentations” - organizer; American Association of
Electrodiagnostic Medicine,Savannah, GA November, 2004

“Update on crical illness myopathy and polyneuropathy” — co-organizer; American
Association of Neuromuscular and Electrodiagnostic Medicine, Monterey, CA
September, 2005

“Critical care symposium: update on neuromuscular weakness in the ICU”
organizer; American Association of Neuromuscular and Electrodiagnostic
Medicine, Washington, DC September, 2006
Case 1:04-cv-10981-PBS Document 1692-12 Filed 03/02/09 Page 33 of 42

Shawn J. Bird, MD Page 9

“Disorders of Neuromuscular Transmission in the ICU” - organizer; American
Association of Neuromuscular and Electrodiagnostic Medicine, Phoenix, AZ
October, 2007

“Breakfast with the experts: inherited neuropathies” - American Association of
Neuromuscular and Electrodiagnostic Medicine, Providence, RI September
2008

“Breakfast with the experts: neuromuscular weakness in the ICU” — American
Association of Neuromuscular and Electrodiagnostic Medicine, Providence, RI
September 2008

“Critical care symposium: case presentations” - organizer; American Association
of Neuromuscular and Electrodiagnostic Medicine, Providence, RI
September, 2008

Bibliography:
Research Publications, peer reviewed:

1. Heiman TD, Bird SJ, Parry GJ, Varga J, Shy ME, Culligan NW, Garcia CA,
Tahmoush AJ: Peripheral neuropathy associated with eosinophilia-
myalgia syndrome. Ann Neurol 28:522-528, 1990.

2. Bird SJ: Pure motor neuropathy and lower motor neuron syndromes. Curr
Opinion Neurol Neurosurg 3:704-708, 1990.

3. Griffin JW, Cornblath DR, Alexander E, Campbell J, Low PA, Bird SJ,
Feldman EL: Ataxic sensory neuropathy and dorsal root ganglionitis
associated with Sjogren's syndrome. Ann Neurol 27:304-315, 1990.

4. Bird SJ: Autonomic neuropathies and sympathetic dystrophies. Curr
Opinion Orthoped 2:258-262, 1991.

5. Chaudhry V, Watson DF, Bird SJ, Cornblath DR: Stimulated single-fiber
electromyography in Lambert-Eaton myasthenic syndrome.
Muscle Nerve 14: 1227-1230, 1991.

6. Bird SJ, Sladky JT: Corticosteroid-responsive dominantly inherited
neuropathy in childhood. Neurology 41:437-439, 1991.
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Shawn J. Bird, MD Page 10

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Galetta SL, Sergott R, Wells GB, Atlas S, Bird S$]: Spontaneous remission of a
third nerve palsy in meningeal lymphoma. Ann Neurol 32:100-102,
1992.

Bird SJ: Clinical and electrophysiologic improvement in the Lambert-Eaton
pny: sic imp
syndrome with intravenous immunoglobulin therapy. Neurology
42:1422-1423, 1992.

Wolfe GI, Raps EC, Galetta SL, Siderowf AD, Brown MJ, Bird SJ: Systemic
non-Hodgkin's lymphoma presenting as neurogenic respiratory
failure. Neurology 45:589-590, 1995.

Wolfe GI, Galetta SL, Teener J, Katz JS, Bird SJ: Site of autonomic dysfunction
in a patient with Ross' syndrome and postganglionic Horner's
syndrome. Neurology 45:2094-2096, 1995.

Rich MM, Raps EC, Bird SJ: Distinction between acute myopathy syndrome
and critical illness polyneuropathy. Mayo Clin Proc 70:198-
199, 1995.

Bird SJ, Brown MJ, Shy ME, Scherer SS: Chronic inflammatory demyelinating
polyneuropathy (CIDP) associated with melanoma. N eurology
46:822-824, 1996.

Rich MM, Teener JW, Raps EC, Schotland DL, Bird SJ: Muscle is electrically
inexcitable in acute quadriplegic myopathy. Neurology 46:731-737,
1996.

Bird SJ, Brown MJ: Acute focal neuropathy in male weightlifters. Muscle
Nerve 19:897-899,1996.

Teener JW, Rich MM, Raps EC, Bird SJ: Polyneuropathy after mechanical
ventilation. JAMA 275:442-443, 1996.

Bergqvist C, Goldberg HI, Thorarensen O, Bird SJ: Posterior cervical Spinal
cord infarction following vertebral artery dissection. N eurology
48:1112-1115, 1997.

Rich MM, Teener JW, Bird SJ: Treatment of Lambert-Eaton syndrome with
intravenous immunoglobulin. Muscle Nerve 20:772-774, 1997.

Rich MM, Bird SJ, Raps EC, McCluskey LF, Teener JW: Direct muscle
stimulation in acute quadriplegic myopathy. Muscle Nerve 20:665-
673, 1997.
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Shawn J. Bird, MD Page 11

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Lynch DR, Hara H, Yum S, Chance PJ, Bird SJ, Fischbeck KH: Autosomal
transmission of HMSN Ill (Dejerine Sottas disease). Neurology
49:601-603, 1997.

Bird SJ, Hanno PM: Diagnosis of erectile dysfunction: value of
bulbocavernosus reflex latencies, nerve conduction studies, and
autonomic testing. J Neurol Sci 154:8-13, 1998.

Rich MM, Teener JW, Raps EC, Bird SJ. Muscle inexcitability in patients with
reversible paralysis following steroids and neuromuscular blockade.
Muscle Nerve 21:1231-1232, 1998.

Donofrio PD, Bird SJ, Assimos DG, Mathes DD: Iatrogenic superior gluteal
mononeuropathy. Muscle Nerve 21:1794-1796, 1998.

Rostami AM, Sater RA, Bird SJ, Galetta S, Farber RE, Silberberg DH,
Grossman RI, Pfohl D, Kamoun M: A double-blind, placebo-
controlled trial of extracorporeal photopheresis in chronic progressive
multiple scleosis. Multiple Sclerosis 5:198-203, 1999.

Bennett JL, Pelak VA, Mourelatos Z, Bird SJ, Galetta SL: Acute sensorimotor
polyneuropathy with tonic pupils and an abduction deficit: an
unusual presentation of polyarteritis nodosa. Surv Ophthalmol
43:341-344, 1999.

Sater RS, Rostami AM, Galetta S, Farber RE, Bird SJ: Serial evoked potentials
studies and MRI imaging in chronic progressive multiple sclerosis.
J Neurol Sci 171:79-83, 1999.

McCluskey L, Feinberg D, Cantor C, Bird SJ: Pseudo-conduction block in
vasculitic neuropathy. Muscle Nerve 22:1361-1366, 1999.

Quan D, Bird SJ: Nerve conduction studies and electromyography in the
evaluation of peripheral nerve injury. Univ PA Orthop J 12:45-51,
1999.

McCluskey L, Feinberg D, Bird SJ: Conduction block in vasculitic neuropathy.
Muscle Nerve (letter, in press), 1999.

Quan D, Rich MM, Bird SJ: Acute idiopathic dysautonomia: electrophysiology
and response to intravenous immunoglobulin. Neurology 54:770-771,
2000.
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Shawn J. Bird, MD Page 12

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Bird SJ, Rich MM: Neuromuscular complications of critical illness. The
Neurologist 6:2-11, 2000.

Shin RK, Galetta SL, Ting TY, Armstrong K, Bird SJ: Ross syndrome with
sympathetic ocular denervation (Horner syndrome). Neurology
55:1841-1846, 2000.

Kleopa KA, Teener JW, Scherer SS, Galetta SL, Bird SJ: Chronic multiple
paraneoplastic syndromes. Muscle Nerve 23:1767-1772, 2000.

Kleopa KA, Raizen DM, Friedrich CA, Brown MJ, Bird SJ: Acute axonal
neuropathy in maple syrup urine disease. Muscle Nerve 24:284-287,
2001.

Antoniou J, Tae SK, Williams GR, Bird SJ, Ramsey ML, Iannotti JP:
Suprascapular neuropathy: variability in diagnosis, treatment, and
outcome. Clin Orthop 386:131-138, 2001.

Bolton CE, Bird SJ: Clinical neurophysiology in the intensive care unit: the
peripheral nervous system. EEG Clin Neurophys (supplement), (in
press), 2002.

Lacomis D, Zochodne DW, Bird SJ: Critical illness myopathy. Muscle Nerve
23:1785-1788, 2001.

Kleopa K, Bird SJ: Carpal tunnel syndrome. American College of Physicians -
American Society of Internal Medicine, Physician’s Information and
Education Resource (PIER), www.acponline.org, 2001.

Shrager JB, Deeb ME, Mick R, Brinster CJ, Childress HE, Marshall MB,
Kucharczuk JC, Galetta SL, Bird SJ, Kaiser LR: Transcervical
thymectomy for myasthenia gravis achieves results comparable to
thymectomy by sternotomy. Ann Thorac Surg 74:320-327, 2002.

Bird SJ, Rich MM: Critical illness myopathy and polyneuropathy. Curr Neurol
Neurosci Reports. 2:527-533, 2002.

Levine JM, Taylor RA, Elman LB, Bird SJ, Lavi E, Stolzenberg ED, McGarvey
ML, Asbury AK, Jimenez SA. Involvement of skeletal muscle in
dialysis-associated systemic fibrosis (nephrogenic fibrosing
dermopathy). Muscle Nerve 30:569-577, 2004.

Brown MJ, Bird SJ, Watling S, Kaletta H, Hayes L, Eckert S$, Foyt H. Natural
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progression of diabetic peripheral neuropathy (DPN) in the zenarestat
study population. Diabetes Care 27:1153-1159, 2004.

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